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                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
MARCH 7, 2019
CHIEF DISTRICT JUDGE SHELLY D. DICK


UNITED STATES OF AMERICA
                                                                    CRIMINAL ACTION

VERSUS
                                                                    18-76-SDD-EWD

QUENTIN BROWN


          This cause came on this day for Sentencing.

          PRESENT:     Demetrius Sumner, Esq.
                       Counsel for United States

                       Karl Ludwig, Esq.
                       Counsel for Defendant


          Counsel make appearances.

          The Court hears argument on Defendant’s objections to the Presentence

Investigation Report. The Court overrules objections number 1 and 2.

          The Court adopts the factual findings in the Presentence Investigation Report,

accepts the plea agreement, imposes Sentence, and advises the Defendant of his appeal

rights.

          The Defendant is remanded to the custody of the United States Marshal.

                                          *****

Reporter: Shannon Thompson
Cr51b/0.50
